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EXHIBIT 2

(Amended and Restated By-Laws of Reorganized NED)!

' The Debtors expressly reserve the right to supplement, modify or amend this document at any time prior to the
Effective Date.
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DRAFT
SUBJECT TO CHANGE
EXHIBIT 2
As adopted on __, 2010
SECOND AMENDED AND RESTATED
BYLAWS
OF
NEENAH ENTERPRISES, INC.
ARTICLE I
Stockholders Meetings
Section 1.1 Annual Meetings.
(a) Unless directors are elected by written consent in lieu of an annual

meeting as permitted by this subsection, an annual meeting of stockholders shall be held for the
election of directors and the transaction of such other business as may properly be brought before
the meeting in accordance with these Bylaws at such date, time and place, if any, as may be fixed
by resolution of the board of directors of the Corporation (the “Board of Directors”) from time to
time. Stockholders may, unless the certificate of incorporation of the Corporation (the
“Certificate of Incorporation”) otherwise provides, act by written consent to elect directors;
provided, however, that, if such consent is less than unanimous, such action by written consent
may be in lieu of holding an annual meeting only if all of the directorships to which directors
could be elected at an annual meeting held at the effective time of such action are vacant and are
filled by such action. The Board of Directors may, in its sole discretion, determine that the
meeting shall not be held at any place, but shall be held solely by means of remote
communication, subject to such guidelines and procedures as the Board of Directors may adopt,
as permitted by applicable law. Subject to paragraph (b) of this Section 1.1, any other proper
business may be transacted at an annual meeting.

(b) Only such business shall be conducted at an annual meeting of stockholders as
shall have been properly brought before the meeting. For business to be properly brought before
the meeting, it must be: (i) authorized by the Board of Directors and specified in the notice, or a
supplemental notice, of the meeting; (ii) otherwise brought before the meeting by or at the
direction of the Board of Directors or the chairman of the meeting; or (iii) otherwise properly
brought before the meeting by a stockholder in accordance with these Bylaws. For business
(including nominations for election to the Board of Directors) to be properly brought before an

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annual meeting by a stockholder, the stockholder must have given written notice thereof to the
Secretary of the Corporation, delivered or mailed to and received at the principal executive
offices of the Corporation not less than thirty (30) days nor more than one hundred twenty (120)
days prior to the anniversary date of the immediately preceding annual meeting; provided,
however, that in the event that no annual meeting was held in the previous year or the annual
meeting is called for a date that is more than thirty (30) days prior to, or more than seventy (70)
days after, the anniversary date of the preceding year’s annual meeting date, written notice by a
stockholder in order to be timely must be received not later than the later of one hundred (100)
days prior to the meeting or the close of business on the tenth (10th) day following the day on
which the first public disclosure of the date of the annual meeting was made. Delivery shall be
by hand, mail, facsimile or electronic mail. No business shall be conducted at any annual
meeting except in accordance with the procedures set forth in this paragraph (b). The chairman
of the meeting at which any business is proposed by a stockholder shall, if the facts: warrant,
determine and declare to the meeting that such business was not properly brought before the
meeting in accordance with the provisions of this paragraph (b), and, in such event, the business
not properly before the meeting shall not be transacted.

Section 1.2 Special Meetings. Special meetings of stockholders for any
purpose or purposes may be called at any time only by the Chairman of the Board, the President
or pursuant to a resolution approved by a majority of the whole Board of Directors or by a
committee of the Board of Directors authorized to call such meetings, to be held at such date,
time and place, either within or without the State of Delaware as may be stated in the notice of
the meeting. A special meeting of stockholders shall be called by the Secretary upon the written
request, stating the purpose of the meeting, of stockholders who together own of record one-third
of the outstanding shares of the Common Stock entitled to vote at such meeting. The Board of
Directors may, in its sole discretion, determine that the special meeting shall not be held at any
place, but shall be held solely by means of remote communication, subject to such guidelines and
procedures as the Board of Directors may adopt, as permitted by applicable law. The business
transacted at a special meeting of stockholders shall be limited solely to matters relating to the
purpose or purposes stated in the notice of meeting, except as otherwise determined by the Board
of Directors or the chairman of the meeting.

Section 1.3. Notice of Meetings. A written notice of each annual or special
meeting of stockholders shall be given stating the place, if any, date and time of the meeting, the
means of remote communications, if any, by which stockholders and proxyholders may be
deemed to be present in person and vote at such meeting and, in the case of a special meeting, -
the purpose or purposes for which the meeting is called. Unless otherwise provided by law, the
Certificate of Incorporation or these Bylaws, such notice of meeting shall be given not less than
ten (10) nor more than sixty (60) days before the date of the meeting to each stockholder of
record entitled to vote at such meeting, personally, by mail or, to the extent and in the manner
permitted by applicable law, electronically. If mailed, such notice shall be deemed to be given
when deposited in the mail, postage prepaid, directed to the stockholder at such stockholder’s
address as it appears on the records of the Corporation.

Section 1.4 Adjournments. Any annual or special meeting of stockholders
may be adjourned from time to time to reconvene at the same or some other place, if any, and

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notice need not be given of any such adjourned meeting if the date, time and place, if any,
thereof and the means of remote communication, if any, by which stockholders and proxyholders
may be deemed present in person and vote at such adjourned meeting are announced at the
meeting at which the adjournment is taken. At the adjourned meeting any business may be
transacted which might have been transacted at the original meeting. If the adjournment is for
more than thirty (30) days, or if after the adjournment a new record date is fixed for the
adjourned meeting, a notice of the adjourned meeting shall be given to each stockholder of
record entitled to vote at the adjourned meeting in accordance with Section 1.3.

Section 1.5 Quorum. Except as otherwise provided by law, the Certificate of
Incorporation or these Bylaws, the presence in person or by proxy of the holders of stock having
a majority of the votes which could be cast by the holders of all outstanding stock entitled to vote
at the meeting shall constitute a quorum at each meeting of stockholders. In the absence of a
quorum, the stockholders so present may, by the affirmative vote of the holders of stock having a
majority of the votes which could be cast by all such holders, adjourn the meeting from time to
time in the manner provided in Section 1.4 of these Bylaws until a quorum is present. Ifa
quorum is present when a meeting is convened, the subsequent withdrawal of stockholders, even
though less than a quorum remains, shall not affect the ability of the remaining stockholders to
lawfully transact business.

Section 1.6 _Conduct; Remote Communication. (a) Meetings of stockholders
shall be presided over by the Chairman of the Board, or in his or her absence, by the President, or
in his or her absence, by a chairman designated by the Board of Directors, or in the absence of
such designation by a chairman chosen at the meeting. The Secretary shall act as secretary of the
meeting, but in his or her absence the chairman of the meeting may appoint any person to act as
secretary of the meeting.

(b) If authorized by the Board of Directors in accordance with these Bylaws
and applicable law, stockholders and-proxyholders not physically present at a meeting of
stockholders may, by means of remote communication, (1) participate in a meeting of
stockholders and (2) be deemed present in person and vote at a meeting of stockholders, whether
such meeting is to be held at a designated place or solely by means of remote communication,
provided that (i) the Corporation shall implement reasonable measures to verify that each person
deemed present and permitted to vote at the meeting by means of remote communication is a
stockholder or proxyholder, (ii) the Corporation shall implement reasonable measures to provide
such stockholders and proxyholders a reasonable opportunity to participate in the meeting and to
vote on matters submitted to the stockholders, including an opportunity to read or hear the
proceedings of the meeting substantially concurrently with such proceedings, and (iti) if any
stockholder or proxyholder votes or takes other action at the meeting by means of remote
communication, a record of such vote or other action shall be maintained by the Corporation.

Section 1.7 Vote Required. When a quorum is present, the affirmative vote of
the majority of shares present in person or represented by proxy at the meeting and entitled to
vote on the subject matter shall be the act of the stockholders, unless the question is one upon
which by express provisions of an applicable law or of the Certificate of Incorporation a different
vote is required, in which case such express provision shall govern and control the decision of

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such question. Voting on any question or in any election need not be by written ballot. Where a
separate vote by class is required, the affirmative vote of the majority of shares of such class
present in person or represented by proxy at the meeting shall be the act of such class, except as
otherwise provided by law or the Certificate of Incorporation.

Section 1.8 Voting Rights. Except as otherwise provided by the General
Corporation Law of the State of Delaware or by the Certificate of Incorporation, each
stockholder entitled to vote at any meeting of stockholders shall be entitled to one vote in person
or by proxy for each share of stock held by such stockholder which has voting power on the
matter in question.

Section 1.9 Proxies.

(a) Each stockholder entitled to vote at a meeting of stockholders or to
express consent or dissent to corporate action in writing without a meeting may authorize another
person or persons to act for such stockholder by proxy filed with the Secretary before or at the
time of the meeting. No such proxy shall be voted or acted upon after three (3) years from its
date, unless the proxy provides for a longer period. A duly executed proxy shall be irrevocable if
it states that it is irrevocable and if, and only as long as, it is coupled with an interest sufficient in
law to support an irrevocable power. A stockholder may revoke any proxy which is not
irrevocable by attending the meeting and voting in person or by filing with the Secretary an
instrument in writing revoking the proxy or another duly executed proxy bearing a later date.

(b) A stockholder may authorize another person or persons to act for such
stockholder as proxy (i) by executing a writing authorizing such person or persons to act as such,
which execution may be accomplished by such stockholder or such stockholder’s authorized
officer, director, partner, employee or agent (or, if the stock is held in a trust or estate, by a
trustee, executor or administrator thereof) signing such writing or causing his or her signature to
be affixed to such writing by any reasonable means, including, but not limited to, facsimile
signature, or (ii) by transmitting or authorizing the transmission of a telegram, cablegram or
other means of electronic transmission (a ““Transmission”) to the person who will be the holder
of the proxy or to a proxy solicitation firm, proxy support service organization or like agent duly
authorized by the person who ‘will be the holder of the proxy to receive such Transmission;
provided that any such Transmission must either set forth or be submitted with information from
which it can be determined that such Transmission was authorized by such stockholder.

(c) At each meeting of stockholders and before any voting commences, all
proxies filed at or before the meeting shall be submitted to and examined by the Secretary of the
Corporation or a person or persons designated by the Secretary, and no shares may be
represented or voted under a proxy that has been found to be invalid or irregular. If it is
determined that a proxy is valid, the person or persons making that determination shall specify
the information upon which such person or persons relied. The Secretary of the Corporation or a
person or persons designated by the Secretary shall also examine any Transmissions to determine
if they are valid. Ifit is determined that a Transmission is valid, the person or persons making
that determination shall specify the information upon which such person or persons relied. Any
copy, facsimile telecommunication or other reliable reproduction of such a writing or

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Transmission may be substituted or used in lieu of the original writing or Transmission for any
and all purposes for which the original writing or Transmission could be used; provided that such
copy, facsimile telecommunication or other reproduction shall be a complete reproduction of the
entire original writing or Transmission.

Section 1.10 Fixing Date of Determination of Stockholders of Record.

(a) In order that the Corporation may determine the stockholders entitled (i) to
notice of or to vote at any meeting of stockholders or any adjournment thereof, (ii) to receive
payment of any dividend or other distribution or allotment of any rights, (iii) to exercise any
rights in respect of any change, conversion or exchange of stock, (iv) to express consent to .
corporate action in writing without a meeting, or (v) to take, receive or participate in any other
action, the Board, of Directors may fix a record date, which shall not be earlier than the date upon
which the resolution fixing the record date is adopted by the Board of Directors and which (1) in
the case of a determination of stockholders entitled to notice of or to vote at any meeting of
stockholders or adjournment thereof, shall, unless otherwise required by law, be not more than
sixty (60) nor less than ten (10) days before the date of such meeting; (2) in the case of a
determination of stockholders entitled to express consent to corporate action in writing without a
meeting, shall be not more than ten (10) days after the date upon which the resolution fixing the
record date is adopted by the Board of Directors; and (3) in the case of any other action, shall be
not more than sixty (60) days before such action.

(b) If no record date is fixed, (i) the record date for determining stockholders
entitled to notice of or to vote at a meeting of stockholders shall be at the close of business on the
day next preceding the day on which notice is given, or, if notice is waived, at the close of
business on the day next preceding the day on which the meeting is held; (ai) the record date for
determining stockholders entitled to express consent to corporate action in writing without a
meeting when no prior action of the Board of Directors is required by law, shall be the first date
on which a signed written consent setting forth the action taken or proposed to be taken is
delivered to the Corporation in accordance with applicable law, or, if prior action by the Board of
Directors is required by law, shall be at the close of business on the day on which the Board of
Directors adopts the resolution taking such prior action; and (111) the record date for determining
stockholders for any other purpose shall be at the close of business on the day on which the
Board of Directors adopts the resolution relating thereto.

(c) A determination of stockholders of record entitled to notice of or to vote at
a meeting of stockholders shall apply to any adjournment of the meeting, but the Board of
Directors may fix a new record date for the adjourned meeting.

Section 1.11 List of Stockholders Entitled to Vote. The Secretary shall prepare,
at least ten (10) days before every meeting of stockholders, a complete list of the stockholders
entitled to vote at the meeting, arranged in alphabetical order, and showing the address and the
number of shares registered in the name of each stockholder. Such list shall be open to the
examination of any stockholder, for any purpose germane to the meeting, during ordinary
business hours, for a period of at least ten (10) days prior to the meeting: (i) on a reasonably
accessible electronic network, provided that the information required to gain access to such list is

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provided with the notice of the meeting; or (ii) during ordinary business hours, at the principal
place of business of the Corporation. In the event that the Corporation determines to make the
list available on an electronic network, the Corporation may take reasonable steps to ensure that
such information is available only to stockholders of the Corporation. If the meeting is to be
held at a place, the list shall also be produced and kept at the time and place of the meeting
during the whole time thereof and may be inspected by any stockholder who is present. If the
meeting is to be held solely by means of remote communication, the list shall be open to the
examination of any stockholder during the whole time thereof on a reasonably accessible
electronic network, and the information required to access such list shall be provided with the
notice of the meeting. The stock ledger shall be the only evidence as to who are the stockholders
entitled to examine the stock ledger, the list of stockholders or the books of the Corporation, or
to vote in person or by proxy at any meeting of stockholders.

Section 1.12 Consent of Stockholders in Lieu of Meeting. Unless otherwise °
provided in the Certificate of Incorporation or these Bylaws, any action required by law to be
taken at any annual or special meeting of stockholders of the Corporation, or any action which
may be taken at any annual or special meeting of such stockholders, may be taken without a
meeting, without prior notice and without a vote, if a consent or consents in writing, setting forth
the action so taken, shall be signed by the holders of outstanding stock having not less than the
minimum number of votes that would be necessary to authorize or take such action at a meeting
at which all shares entitled to vote thereon were present and voted and shall be delivered to the
Secretary of the Corporation at the principal executive offices of the Corporation. Every written
consent shall bear the date of signature of each stockholder who signs the consent and no written
consent shall be effective to take the corporate action referred to therein unless, within sixty (60)
days of the earliest dated consent delivered in the manner required by these Bylaws to the
Corporation, written consents signed by a sufficient number of holders to take action are
delivered to the Secretary of the Corporation at the principal executive offices of the
Corporation. Prompt notice of the taking of the corporate action without a meeting by less than
unanimous written consent shall be given to those stockholders who have not consented in
writing and who, if the action had been taken at a meeting, would have been entitled to notice of
the meeting if the record date for such meeting had been the date that written consents signed by »
a sufficient number of stockholders to take the action were delivered to the Corporation as
provided in this Section 1.12.

ARTICLE II

Board of Directors

Section 2.1 Number. The initial Board of Directors shall consist of seven (7)
directors. At any time after the third annual meeting of the stockholders of the Corporation
following the Effective Date, unless otherwise provided by the Certificate of Incorporation, the
number of directors may be amended from time to time by amendment to the Certificate of
Incorporation or by resolution adopted by the affirmative vote of a majority of the whole Board
of Directors; provided that no such amendment may shorten the term of any incumbent director.
Directors need not be stockholders.
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Section 2.2. Election: Resignation; Vacancies.

(a) Except as otherwise provided in the Certificate of Incorporation, at each
annual meeting of stockholders the stockholders shall elect directors each of whom shall hold
office until the next annual meeting of stockholders and the election and qualification of his or
her successor, or until his or her earlier death, resignation or removal.

(b) Any director may resign at any time by giving written notice to the
Chairman of the Board, the President or the Secretary. A resignation shall take effect when the
resignation is delivered to the officer to whom it is directed unless the resignation specifies a
later effective date or an effective date determined upon the happening of an event or events,
without any need for its acceptance. A resignation that is conditioned upon the director failing to
receive a specified vote for reelection as a director may provide that it is irrevocable.

(c) Any newly created directorship or any vacancy occurring in the Board of
Directors for any reason may be filled by a majority of the remaining directors (excluding any
director elected by any class or series of preferred stock), although less than a quorum, by a sole
remaining director or by a plurality of the votes cast in the election of directors at a meeting of
stockholders. Each director elected to replace a former director shall hold office until the
expiration of the term of office of the director whom he or she has replaced and the election and
qualification of his or her successor, or until his or her earlier death, resignation or removal. A
director elected to fill a newly created directorship shall serve until the next annual meeting of
stockholders and the election and qualification of his or her successor, or until his or her earlier
death, resignation or removal.

Section 2.3 Regular Meetings. Unless otherwise determined by the Board of
Directors, a regular annual meeting of the Board of Directors shall be held, without call or
notice, immediately after and, if the annual meeting of stockholders is held at a place, at the same
place as the annual meeting of stockholders, for the purpose of organizing the Board of
Directors, electing officers and transacting any other business that may properly come before
such meeting. Additional regular meetings of the Board of Directors may be held without call or
notice at such times as shall be fixed by resolution of the Board of Directors.

Section 2.4 Special Meetings. Special meetings of the Board of Directors may
be called by the Chairman of the Board, the President, the Secretary or by any member of the
Board of Directors. Special meetings may be held either within or without the State of
Delaware. Notice thereof, stating the place, date and time of each such special meeting shall be
given to each director by whom it is not waived by mailing written notice not less than four days
before the meeting, or personally (by telephone or otherwise) or by facsimile, electronic
transmission or similar means of communication not less than 48 hours before the meeting.
Unless otherwise indicated in the notice thereof, any and all business may be transacted at a
special meeting. The purpose or purposes of a special meeting need not be stated in the call or
notice.

Section 2.5 Organization. Meetings of the Board of Directors shall be presided
over by the Chairman of the Board, or in his or her absence, by the President, or in his or her

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absence, by a chairman chosen at the meeting. The Secretary shall act as secretary of the
meeting, but in his or her absence the chairman of the meeting may appoint any person to act as
secretary of the meeting. A majority of the directors present at a meeting, whether or not they
constitute a quorum, may adjourn such meeting to any other date, time or place without notice
other than announcement at the meeting.

Section 2.6 Quorum; Vote Required for Action. At all meetings of the Board
of Directors a majority of the whole Board of Directors shall constitute a quorum for the
transaction of business. Unless the Certificate of Incorporation or these Bylaws otherwise
provide, the vote of a majority of the directors present at a meeting at which a quorum is present
shall be the act of the Board of Directors; provided, however, that on or before the third
anniversary of the effective date (the “Effective Date”) of the Plan (as defined in the Fifth
Amended and Restated Certificate of Incorporation of the Corporation), each of the following
matters shall require the affirmative vote of at least six of the seven directors on the Board of
Directors:

(a) liquidation, filing for bankruptcy, or winding up of the affairs of the
Corporation;

(b) issuance of equity securities of the Corporation, or any securities
convertible into or exchangeable or exercisable for such securities of the Corporation, other than
in connection with a management incentive plan, that would have the effect of diluting the
Corporation’s existing capital stock by more than 10% on a fully diluted basis (taking into
account forfeitures and expirations of previously issued awards);

(c) consolidation or merger of the Corporation with or into another entity (not
affiliated with the Corporation) or consummation of any other transaction to which the
Corporation is a party, in each case, that would result in a change of control whereby the owners
of more than 50.1% of the capital stock of the Corporation before the transaction fail to control
50.1% of the capital stock of the Corporation after the transaction;

(d) a sale of assets of the Corporation that are reasonably expected by the
Board of Directors to contribute more than 25% of the Corporation’s revenues in the twelve
months following the proposed date of sale;

(e) transactions (other than employment arrangements approved by the Board
of Directors) with affiliates of the Corporation involving the acquisition by the Corporation of
any entity controlled by an affiliate of the Corporation, the sale of material assets of the
Corporation to an affiliate of the Corporation, or the payment of a fee to an affiliate of the
Corporation for the provision of services to the Corporation (for purposes of this Section 2.6:
“affiliate” means any person that directly, or indirectly through one or more intermediaries,
controls or is controlled by, or is under common control with, the person specified; and “person”
means a natural person or any partnership, limited liability company, trust, estate, association,
corporation, custodian, nominee or any other individual or entity in its own or any representative
capacity or any other entity); and
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(f) amendments and/or alterations of the Certificate of Incorporation or these
Bylaws that would have the effect of changing the terms of items (a) — (e) above, the percentage
of directors required to approve items (a) — (e) above, or the terms of Section 7.1 or Section 7.2
below.

Section 2.7. Committees. The Board of Directors may, designate one or more
committees, each committee to consist of one or more directors of the Corporation. The Board
of Directors may designate one or more directors as alternate members of any committee, who
may replace any absent or disqualified member at any meeting of the committee. In the absence

‘ or disqualification of a member of a committee, the member or members present at any meeting
and not disqualified from voting, whether or not such member or members constitute a quorum,
may unanimously appoint another member of the Board of Directors to act at the meeting in
place of any such absent or disqualified member. Any such committee, to the extent permitted
by law and provided in these Bylaws or in the resolution of the Board of Directors designating
such committee, or an amendment to such resolution, shall have and may exercise all the powers
and authority of the Board of Directors in the management of the business and affairs of the
Corporation, and may authorize the seal of the Corporation to be affixed to all papers which may
require it; provided, however, no committee shall have the power or authority in reference to the
following matters: (i) approving or adopting, or recommending to the stockholders, any action or
matter expressly required by law to be submitted to the stockholders for approval, (11) adopting,
amending or repealing these Bylaws, (iii) removing or indemnifying directors; or (iv) approving
any of the actions listed in Section 2.6(a) through 2.6(f).

Section 2.8 Telephonic Meetings. Directors, or any committee of directors
designated by the Board of Directors, may participate in a meeting of the Board of Directors or
such committee by means of conference telephone or other communications equipment by means
of which all persons participating in the meeting can hear each other, and participation in a
meeting pursuant to this Section 2.8 shall constitute presence in person at such meeting.

Section 2.9 Action by Unanimous Consent of Directors. Unless otherwise
restricted by the Certificate of Incorporation or these Bylaws, any action required or permitted to
be taken at any meeting of the Board of Directors, or of any committee thereof, may be taken
without a meeting if all members of the Board of Directors or such committee, as the case may
be, consent thereto in writing (which may be in counterparts) or by electronic transmission, and
the written consent or consents or electronic transmission or transmissions are filed with the
minutes of proceedings of the Board of Directors or such committee. Such filing shall be made
in paper form if the minutes of the Corporation are maintained in paper form and shail be in
electronic form if the minutes are maintained in electronic form.

Section 2.10 Committee Rules. Unless the Board of Directors otherwise
provides, each committee designated by the Board of Directors may adopt, amend and repeal
rules for the conduct of its business. In the absence of such rules each committee shall conduct
its business in the same manner as the Board of Directors conducts its business pursuant to this
Article IJ of these Bylaws.

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Section 2.11 Reliance upon Records. Every director, and every member of any
committee of the Board of Directors, shall, in the performance of his or her duties, be fully
protected in relying in good faith upon the records of the Corporation and upon such information,
opinions, reports or statements presented to the Corporation by any of its officers or employees,
or committees of the Board of Directors, or by any other person as to matters the director or
member reasonably believes are within such other person’s professional or expert competence
and who has been selected with reasonable care by or on behalf of the Corporation, including,
but not limited to, such records, information, opinions, reports or statements as to the value and
amount of the assets, liabilities and/or net profits of the Corporation, or any other facts pertinent
to the existence and amount of surplus or other funds from which dividends might properly be
declared and paid, or with which the Corporation’s capital stock might properly be purchased or
redeemed.

Section 2.12 Interested Directors. A director who is directly or indirectly a
party to a contract or transaction with the Corporation, or is a director or officer of or has a
financial interest in any other corporation, partnership, association or other organization which is
a party to a contract or transaction with the Corporation, may be counted in determining whether
a quorum is present at any meeting of the Board of Directors or a committee thereof at which
such contract or transaction is considered or authorized, and such director may participate in
such meeting and vote on such authorization to the extent permitted by applicable law, including
Section 144 of the General Corporation Law of the State of Delaware.

Section 2.13 Compensation. Unless otherwise restricted by the Certificate of
Incorporation, the Board of Directors shall have the authority to fix the compensation of
directors. The directors shall be paid their reasonable expenses, if any, of attendance at each
meeting of the Board of Directors or a committee thereof and may be paid a fixed sum for
attendance at each such meeting and an annual retainer or salary for services as a director or
committee member. No such payment shall preclude any director from serving the Corporation
in any other capacity and receiving compensation therefor.

ARTICLE UI
Officers

Section 3.1 Executive Officers; Election: Qualification; Term of Office. The
Board of Directors shall elect (a) a Chairman of the Board from among its members, and (b) a
President. The Board of Directors shall also elect a Secretary and may elect one or more Vice
Presidents, one or more Assistant Secretaries, a Treasurer, one or more Assistant Treasurers and
such other officers as the Board of Directors may deem desirable or appropriate and may give
any of them such further designations or alternate titles as it considers desirable. Any number of
offices may be held by the same person unless the Certificate of Incorporation or these Bylaws
otherwise provide. Unless otherwise provided in the resolution of the Board of Directors
electing any officer, each officer shall hold office until his or her successor is elected and
qualified or until his or her earlier death, resignation or removal.

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Section 3.2 Resignation; Removal; Vacancies. Any officer may resign at any
time by giving written notice to the Chairman of the Board, the President or the Secretary.
Unless otherwise stated in a notice of resignation, it shall take effect when received by the officer
to whom it is directed, without any need for its acceptance. The Board of Directors may remove
any officer with or without cause at any time, but such removal shall be without prejudice to the
contractual rights of such officer, if any, with the Corporation, but the election of an officer shall
not of itself create contractual rights. A vacancy occurring in any office of the Corporation may
be filled for the unexpired portion of the term thereof by the Board of Directors at any regular or
special meeting.

Section 3.3 Powers and Duties of Executive Officers. The officers of the
Corporation shall have such powers and duties in the management of the Corporation as shall be
stated in these Bylaws or in a resolution of the Board of Directors which is not inconsistent with
these Bylaws and, to the extent not so stated, as generally pertain to their respective offices,
subject to the control of the Board of Directors. The Board of Directors may require any officer,
agent or employee to give security for the faithful performance of his or her duties.

Section 3.4 Chairman of the Board. The Chairman of the Board shall be a
member of the Board of Directors, shall be deemed to be an officer of the Corporation, subject to
the control of the Board of Directors, shall report directly to the Board of Directors, and shall
perform such duties as the Board of Directors may from time to time determine. The Chairman
of the Board may or may not be an employee of the Corporation. The Chairman of the Board, if
one shall have been elected, shall preside at each meeting of the Board of Directors or
shareholders at which he or she shall be present.

Section 3.5 Chief Executive Officer. The Chief Executive Officer shall have
general supervision and direction of the business and affairs of the Corporation, shall be
responsible for corporate policy and strategy, and shall report directly to the Board of Directors.
Unless otherwise provided in these Bylaws or in a resolution of the Board of Directors which is
not inconsistent with these Bylaws, all other officers of the Corporation shall report directly to
the Chief Executive Officer or as otherwise determined by the Chief Executive Officer.

Section 3.6 Chief Financial Officer. The Chief Financial Officer shall exercise
all the powers and perform the duties of the office of the chief financial officer and in general
have overall supervision of the financial operations of the Corporation. The Chief Financial
Officer shall, when requested, counsel with and advise the other officers of the Corporation and
shall perform such other duties as such officer may agree with the Chief Executive Officer or as
the Board of Directors may from time to time determine.

Section 3.7 President. The President shall have general responsibility for the
management and control of the operations of the Corporation. The President shall have the
power to affix the signature of the Corporation to all contracts that have been authorized by the
Board of Directors or the Chief Executive Officer. The President shall, when requested, counsel
with and advise the other officers of the Corporation and shall perform such other duties as such
officer may agree with the Chief Executive Officer or as the Board of Directors may from time
to time determine. In the absence of the Chairman of the Board, the President shall preside at all

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meetings of the Board of Directors and of the stockholders at which he or she shall be present.
The offices of the President and the Chairman of the Board may be held by the same person.

Section 3.8 Vice Presidents. Each Vice President shall have such powers and
duties as shall be prescribed by his or her superior officer or the Chief Executive Officer. A Vice
President shall, when requested, counsel with and advise the other officers of the Corporation
and shall perform such other duties as such officer may agree with the Chief Executive Officer or
as the Board of Directors may from time to time determine. In the absence of both the Chief
Executive Officer and the President, or in the event of the death, inability or refusal to act of both
the Chief Executive Officer and the President, or in the event for any reason it shall be
impracticable for either of them to act personally, the Vice President (or in the event there be
more than one Vice President, the Vice Presidents in the order designated by the Board of
Directors, or in the absence of any designation, then in the order of their election) shall perform
the duties of the President, and when so acting, shall have all the powers of and be subject to all
the restrictions upon the President. The execution of any instrument of the Corporation by any
Vice President shall be conclusive evidence of a Vice President’s authority to act in the stead of
the Chief Executive Officer or President. Vice Presidents may, by their election, have charge and
supervision of designated divisions, departments or units of the Corporation’s business.

Section 3.9 Treasurer. The Treasurer shall supervise and be responsible for all
the funds and securities of the Corporation, the deposit of all moneys and other valuables to the
credit of the Corporation in depositories of the Corporation, borrowings and compliance with the
provisions of all indentures, agreements and instruments governing such borrowings to which the
Corporation is a party, the disbursement of funds of the Corporation and the investment of its
funds, and in general shall perform all of the duties incident to the office of the Treasurer. The
Treasurer shall, when requested, counsel with and advise the other officers of the Corporation
and shall perform such other duties as such officer may agree with the Chief Executive Officer or
as the Board of Directors may from time to time determine.

Section 3.10 Secretary. The powers and duties of the Secretary are: (i) to act as
Secretary at all meetings of the Board of Directors, of the committees of the Board of Directors
and of the shareholders and to record the proceedings of such meetings in a book or books to be
kept for that purpose; (ii) to see that all notices required to be given by the Corporation are duly
given and served; (iii) to act as custodian of the seal of the Corporation and affix the seal or
cause it to be affixed to all certificates of stock of the Corporation and to all documents, the
execution of which on behalf of the Corporation under its seal is duly authorized in accordance
with the provisions of these Bylaws; (iv) to have charge of the books, records and papers of the
Corporation and see that the reports, statements and other documents required by law to be kept
and filed are properly kept and filed; and (v) to perform all of the duties incident to the office of
Secretary. The Secretary shall, when requested, counsel with and advise the other officers of the
Corporation and shall perform such other duties as such officer may agree with the Chief
Executive Officer or as the Board of Directors may from time to time determine.

Section 3.11 Additional Matters. The Chief Executive Officer and the Chief
Financial Officer of the Corporation shall have the authority to designate employees of the
Corporation to have the title of Vice President, Assistant Vice President, Assistant Treasurer or

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Assistant Secretary. Any employee so designated shall have the powers and duties determined by
the officer making such designation.

ARTICLE IV

Stock Certificates and Transfers

Section 4.1 Certificate. Shares of the Corporation’s stock may be certificated
or uncertificated, as determined by the Board of Directors. Any certificates of stock of the
Corporation shall be in such form as may be determined by the Board of Directors, shall be
numbered and shall be entered in the books of the corporation as they are issued. Any such
certificates shall exhibit the holder’s name and be signed by or in the name of the Corporation by
the Chairman of the Board, the President, Chief Executive Officer or a:Vice President, and by
the Secretary or an Assistant Secretary, of the Corporation, certifying the number of shares
owned by such stockholder in the Corporation. Any or all of the signatures on the certificate
may be a facsimile, stamp or other imprint. In case any officer, transfer agent, or registrar who
has signed or whose facsimile, stamp or other imprint signature has been placed upon a
certificate shall have ceased to be such officer, transfer agent or registrar before such certificate
is issued, it may be issued by the Corporation with the same effect as if such person were such
officer, transfer agent or registrar at the date of issue.

Section 4.2 Lost, Stolen or Destroyed Certificates; Issuance of New
Certificates. The Corporation may issue a new certificate of stock or uncertificated shares in the
place of any certificate theretofore issued by it, alleged to have been lost, stolen or destroyed,
and the Corporation may require the owner of the lost, stolen or destroyed certificate, or such
stockholder’s legal representative, to give the Corporation a bond sufficient to indemnify it
against any claim that may be made against it on account of the alleged loss, theft or destruction
of any such certificate or the issuance of such new certificate or uncertificated shares.

Section 4.3 Transfers of Stock. Upon surrender to the Corporation or the
transfer agent of the Corporation of a certificate for stock of the Corporation duly endorsed or
accompanied by proper evidence of succession, assignment or authority to transfer or, if the
relevant stock certificate is claimed to have been lost, stolen or destroyed, upon compliance with
the provisions of Section 4.2 of these Bylaws, and upon payment of applicable taxes with respect
to such transfer, and in compliance with any restrictions on transfer applicable to such stock
certificate or the shares represented thereby of which the Corporation shall have notice and
subject to such rules and regulations as the Board of Directors may from time to time deem
advisable concerning the transfer and registration of stock certificates, the Corporation shall
issue a new certificate or certificates for such stock to the person entitled thereto, cancel the old
certificate and record the transaction upon its books. Transfers of stock shall be made only on
the books of the Corporation by the registered holder thereof or by such holder’s attorney or
successor duly authorized as evidenced by documents filed with the Secretary or transfer agent
of the Corporation. Whenever any transfer of stock shall be made for collateral security, and not
absolutely, it shall be so expressed in the entry of transfer if, when the certificate or certificates

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representing such stock are presented to the Corporation for transfer, both the transferor and
transferee request the Corporation to do so.

Section 4.4 Stockholders of Record. The Corporation shall be entitled to treat
the holder of record of any stock of the Corporation as the holder thereof and shall not be bound
to recognize any equitable or other claim to or interest in such stock on the part of any other
person, whether or not it shall have express or other notice thereof, except as otherwise required
by the laws of the State of Delaware.

ARTICLE V

Notices

Section 5.1 Manner of Notice. (a) Except as otherwise provided by law, the
Certificate of Incorporation or these Bylaws, whenever notice is required to be given to any
stockholder, director or member of any committee of the Board of Directors, such notice may be
given by (i) personal delivery, (ii) depositing it, in a sealed envelope, in the United States mails,
first class, postage prepaid, addressed, (iii) delivering to a company for overnight or second day
mail or delivery, (iv) transmitting it via facsimile transmission, or (v) any other reliable means
permitted by applicable law (including, subject to Section 5.1(b), electronic transmission) to such
stockholder, director or member, either at the address of such stockholder, director or member as
it appears on the records of the Corporation or, in the case of such a director or member, at his or
her business address; and such notice shall be deemed to be given at the time when it is thus
personally delivered, deposited, delivered or transmitted, as the case may be. Such requirement
for notice shall also be deemed satisfied, except in the case of stockholder meetings, if actual
notice is received orally or by other writing by the person entitled thereto as far in advance of the
event with respect to which notice is being given as the minimum notice period required by law
or these Bylaws.

(b) Without limiting the foregoing, any notice to stockholders given by the
Corporation pursuant to these Bylaws shall be effective if given by a form of electronic
transmission consented to by the stockholder to whom the notice is given in accordance with
applicable law. Any such consent shall be revocable by the stockholder by written notice to the
Corporation and shall also be deemed revoked if (1) the Corporation is unable to deliver by
electronic transmission two (2) consecutive notices given by the Corporation in accordance with
such consent and (ii) such inability becomes known to the Secretary of the Corporation, the
transfer agent or other person responsible for the giving of notice; provided, however, that the
inadvertent failure to treat such inability as a revocation shall not invalidate any meeting or other
action. Notice given by a form of electronic transmission in accordance with these Bylaws shall
be deemed given: (1) if by facsimile telecommunication, when directed to a number at which the
stockholder has consented to receive notice; (2) if by electronic mail, when directed to an
electronic mail address at which the stockholder has consented to receive notice; (3) if by a
posting on an electronic network, together with separate notice to the stockholder of such
specific posting, upon the later of such posting and the giving of such separate notice; and (4) if
by another form of electronic transmission, when directed to the stockholder.

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Section 5.2 Dispensation with Notice.

(a) Whenever notice is required to be given by law, the Certificate of
Incorporation or these Bylaws to any stockholder to whom (i) notice of two (2) consecutive
annual meetings of stockholders, and all notices of meetings of stockholders to such stockholder
during the period between such two (2) consecutive annual meetings, or (ii) all, and at least two
(2), payments (if sent by first class mail) of dividends or interest on securities of the Corporation
during a twelve (12) month period, have been mailed addressed to such stockholder at the
address of such stockholder as shown on the records of the Corporation and have been returned
undeliverable, the giving of such notice to such stockholder shall not be required. Any action or
meeting which shall be taken or held without notice to such stockholder shall have the same
force and effect as if such notice had been duly given. If any such stockholder shall deliver to
the Corporation a written notice setting forth the then current address of such stockholder, the
requirement that notice be given to such stockholder shall be reinstated.

(b) Whenever notice is required to be given by law, the Certificate of
Incorporation or these Bylaws to any person with whom communication is unlawful, the giving
of such notice to such person shall not be required, and there shall be no duty to apply to any
governmental authority or agency for a license or permit to give such notice to such person. Any
action or meeting which shall be taken or held without notice to any such person with whom
communication is unlawful shall have the same force and effect as if such notice had been duly
given.

Section 5.3. Waiver of Notice. Any written waiver of notice, signed by the
person entitled to notice, whether before or after the time stated therein, shall be deemed
equivalent to notice. Attendance of a person at a meeting shall constitute a waiver of notice of
such meeting, except when the person attends a meeting for the express purpose of objecting, at
the beginning of the meeting, to the transaction of any business because the meeting is not
lawfully called or convened. Neither the business to be transacted at, nor the purpose of, any
regular or special meeting of the stockholders, directors, or members of a committee or directors
need be specified in any written waiver of notice.

ARTICLE VI

Indemnification

Section 6.1 Right to Indemnification.

(a) The Corporation shall indemnify and hold harmless, to the fullest extent
permitted by law as in effect on the date of adoption of these Bylaws or as it may thereafter be
amended, any person who was or is made or is threatened to be made a party or is otherwise
involved in any action, suit or proceeding, whether civil, criminal, administrative or investigative
(a “proceeding”) by reason of the fact that he or she, or a person for whom he or she is the legal
representative, is or was a director, officer, employee or agent of the Corporation or is or was
serving at the request of the Corporation as a director, officer, employee or agent of another
corporation, partnership, joint venture, trust, nonprofit or other enterprise (such person, a

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“Covered Person”), against any and all liability and loss (including judgments, fines, penalties
and amounts paid in settlement) suffered or incurred and expenses reasonably incurred by such
person; provided, however, that any standard of conduct applicable to whether a director or
officer may be indemnified shall be equally applicable to an employee or agent under this Article
VI. Notwithstanding the foregoing, the Corporation shall not be required to indemnify a person
in connection with a proceeding initiated by such person, including a counterclaim or crossclaim,
unless the proceeding was authorized by the Board of Directors.

(b) For purposes of this Article VI: (i) any reference to “other enterprise”
shall include all plans, programs, policies, agreements, contracts and payroll practices and related
trusts for the benefit of or relating to employees of the Corporation and its related entities
(“employee benefit plans”); (11) any reference to “fines”, “penalties”, “liability” and “expenses”
shall include any excise taxes, penalties, claims, liabilities and reasonable expenses (including
reasonable legal fees and related expenses) assessed against or incurred by a person with respect
to any employee benefit plan; (ii1) any reference to “serving at the request of the Corporation”
shall include any service as a director, officer, employee or agent of the Corporation or trustee or
administrator of any employee benefit plan which imposes duties on, or involves services by,
such director, officer, employee or agent with respect to an employee benefit plan, its
participants, beneficiaries, fiduciaries, administrators and service providers; (iv) any reference to
serving at the request of the Corporation as a director, officer, employee or agent of a partnership
or trust shall include service as a partner or trustee; and (v) a person who acted in good faith and
in a manner he or she reasonably believed to be in the interest of the participants and
beneficiaries of an employee benefit plan shall be deemed to have acted in a manner “not
opposed to the best interests of the Corporation” for purposes of this Article VI.

Section 6.2 Prepayment of Expenses. To the fullest extent permitted by law,
the Corporation shall pay or reimburse the reasonable expenses by any Covered Person incurred
in defending any proceeding in advance of its final disposition if the Corporation has received an
undertaking by the Covered Person receiving such payment or reimbursement to repay all
amounts advanced if it should be ultimately determined that he or she is not entitled to be
indemnified under this Article VI or otherwise.

Section 6.3 Claims. Ifa claim for indemnification or payment of expenses
under this Article VI is not paid in full within 60 days after a written claim therefor has been
received by the Corporation, the claimant may file suit to recover the unpaid amount of such
claim and, if successful in whole or in part, shall be entitled, to the fullest extent permitted by
law, to be paid the expense of prosecuting such claim. In any such action the Corporation shall
have the burden of proving that the claimant was not entitled to the requested indemnification or
payment of expenses under applicable law.

Section 6.4 Non-Exclusivity of Rights. The rights conferred on any person by
this Article VJ shall not be exclusive of any other rights which such person may have or hereafter
acquire under any statute, provision of the Certificate of Incorporation, these Bylaws, agreement,
vote of stockholders or disinterested directors or otherwise.

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Section 6.5 Other Indemnification. The Corporation’s obligation, if any, to
indemnify any person who was or is serving at its request as a director, officer, employee,
partner or agent of another corporation, partnership, joint venture or other enterprise shall be
reduced by any amount such person may collect as indemnification from such other corporation,
partnership, joint venture or other enterprise.

Section 6.6 Amendment or Repeal. Any repeal or modification of the
foregoing provisions of this Article VI shall not adversely affect any right or protection
hereunder of any person in respect of any act or omission occurring prior to the time of such
repeal or modification. ”

ARTICLE VI: .

Exchange Act Registration and Financial Information.

Section 7.1 Exchange Act Registration. Unless the Board of Directors
determines to do so earlier or the Corporation is otherwise required by applicable law to do so
earlier, the Corporation will use its commercially reasonable efforts to cause the common stock
of the Corporation (the “Common Stock”) to be registered under the Securities Exchange Act of
1934, as amended and including any successor statute (the “Exchange Act”), on or as soon as
reasonably practical after the second anniversary of the Effective Date and to maintain such
registration thereafter.

Section 7.2 Financial Information. The Corporation will use its commercially
reasonable efforts to disseminate quarterly unaudited and annual audited consolidated statements
of operations and cash flows and a consolidated balance sheet as of the end of the applicable
period, in each case, including related notes and a brief narrative discussion and analysis of such
financial information, through the Pink Sheets News Service, or by other means reasonably
designed to make such information available to the stockholders of the Corporation as
determined by the Board of Directors, until such time as the Corporation becomes a reporting
company under the Exchange Act. In accordance with the foregoing, the Corporation will use its
commercially reasonable efforts to make such quarterly financial information available no later
than forty-five (45) calendar days after the end of each of the first three fiscal quarters, and
annual financial information available no later than ninety (90) calendar days after the end of the
fourth fiscal quarter, of each fiscal year, provided that no such report shall be due for periods
ending prior to the Effective Date. In addition, beginning with the fiscal quarter that ends
immediately following the eighteen (18) month anniversary of the Effective Date, the
Corporation will host conference calls that will be open to all stockholders of the Corporation to
provide commentary from senior management of the Corporation regarding the most recently
disseminated quarterly and annual financial results.

The provisions of this Article VII shall terminate upon the completion of a sale in a public
offering registered under the Securities Act of 1933, as amended, of shares of Common Stock
and shall not apply if compliance with such provisions would result in a violation of applicable
law.

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ARTICLE VII

General

Section 8.1 Fiscal year. The fiscal year of the Corporation shall be determined
by resolution of the Board of Directors. Absent any contrary resolution, the fiscal year shall end
on September 30 of each year.

Section 8.2 Seal. The Board of Directors may provide a corporate seal which
shall have. the name of the Corporation inscribed thereon and shall be in such form as may be
approved from time to time by the Board of Directors.

Section 8.3. Form of Records. Any records maintained by the Corporation in
the regular course of its business, including its stock ledger, books of account, and minute books
may be kept on, or be in the form of, punch cards, magnetic tape, photographs,
microphotographs, electronic format or any other information storage device, provided that the
records so kept can be converted into clearly legible form within a reasonable time. The
Corporation shall so convert any records so kept upon the request of any person entitled to
inspect the same.

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Section 8.4 Definitions. For purposes of these Bylaws, “electronic
transmission” means any form of communication, not directly involving the physical
transmission of paper, that creates a record that may be retained, retrieved and reviewed by a
recipient thereof, and that may be directly reproduced in paper form by such a recipient through
an automated process.

Section 8.5 Amendment of Bylaws. Except as otherwise provided by these
Bylaws, the amendment, alteration or repeal of any of these Bylaws shall require the affirmative
vote of a majority of the directors on the Board of Directors, but the holders of at least a majority
of the then outstanding shares of Common Stock may amend or repeal any Bylaws whether or
not adopted by them; provided that, (i) prior to the third anniversary of the Effective Date, any
amendment, alteration or repeal of Sections 2.6, 7.1 or 7.2 of these Bylaws shall require the
affirmative vote of holders representing at least a seventy-five percent (75%) of the outstanding
shares of Common Stock and (ii) any amendment of these Bylaws having the effects set forth in
Section 2.6(a) through (f) on or before the third anniversary of the Effective Date would require
the affirmative vote of six (6) of the seven (7) directors of the Corporation.

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